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                         IN THE UNITED STATES DISTRICT
                      COURT FOR THE DISTRICT OF COLUMBIA

  JASON LEOPOLD BUZZFEED INC.,                 )
                                               )
              Plaintiffs,                      )
                                               )
        v.                                     )
                                               )    Case No. 1:19-cv-02798-RC
  DEFENSE INTELLIGENCE AGENCY,                 )
                                               )
              Defendant.                       )
                                               )

                        DECLARATION OF MICHAEL BROBECK


I, Michael Brobeck, do hereby declare as follows:

       1.     I am a member of the Defense Intelligence Senior Executive Service, and

presently serve as the Director of the Office of Facilities and Services at the Defense

Intelligence Agency. I assumed this role in January 2020.

       2.     As Director of the Office of Facilities and Services, one of the branches that l

am responsible for is the Records Management and Information Services Branch, which

includes the Freedom of Information Act (FOIA) Services Section for DIA. The FOIA office

receives, processes, and responds to requests for DIA records under the FOIA and the Privacy

Act.

       3.     Consistent with guidance across the federal government and Department of

Defense, the Director of DIA directed all personnel who are not essential to DIA’s core missions

to remain at home. This directive protects the workforce by maximizing social distancing and

protect the safety of personnel who are at high risk from COVID-19 under criteria provided by the

Center for Disease Control.

       4.     In accordance with this guidance, DIA’s FOIA officers were directed to stay at


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home, rather than report to their work locations, since approximately March 17, 2020. Likewise,

many officers from other components of the Agency with whom our FOIA office works to identify

and review potentially responsive records were also sent home pursuant to that health guidance.

       5.      The Agency has been encouraging its officers at home to telework when possible.

However, FOIA collection or processing cannot be done remotely by telework as the systems on

which DIA records are maintained are classified systems, and all classified systems and materials

must be maintained within a Secure Compartmented Information Facility (SCIF). Under these

circumstances, DIA has had to defer the majority of tasks related to FOIA production, processing,

and review, including tasks required to update the summary judgment record in this case, since

approximately March 17, 2020.

       6.      In the FAC-2C Records Management & Information Services Branch, which

includes agency-level FOIA and Declassification services, 86% of the workforce is self-identified

as high-risk in accordance with the DIA Surgeon General's guidance (which in turn is based on the

guidance from the Centers for Disease Controls). Only six of the slightly more than forty officers

in the Branch have not identified as high-risk, and therefore, new guidance for non-essential non-

high risk employees, were able to start returning to work on-site in mid-April 2020 with access to

classified materials; however, that guidance states that they may only be on-site two days per week

in teams to preserve social distancing requirements in DIA facilities. The six serve as the initial

capability for having a minimum presence physically on-site at the FOIA office, and to support

further and future reconstitution activities of the FOIA office as described below. Otherwise, they

are also teleworking with no access to classified materials or any FOIA case information.

       7.      The FOIA team has a five-person team devoted to litigated matters (“FOIA-LIT”).

All five members (100%) of this litigation team are part of a population at high-risk of serious

complications from COVID-19. The six FOIA officers that are working on-site two days per week

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are apprentice or near-journeyman level FOIA officers. None of them has experience with FOIA

litigation, including preparation of Vaughn indices. None of them is knowledgeable about current

cases in litigation, such as this one, and they have been therefore unable to conduct work related

to this case.

        8.      DIA devised a plan to begin to return its’ officers to on-site work through a phased

process that would lead to renewal of FOIA operations in some capacity. In line with that process,

DIA moved into Phase II of reconstitution, which is executed in two parts:

(a) Phase IIA: During this first part, the Agency’s Directorate for Mission Services assessed and

began coordinating services to support an increased number of employees in our facilities. This

assessment will be conditions based, and if conditions regarding the status of health conditions in

the National Capital Region change, the Agency may return to Phase I, or move to Phase IIB; and

(b) Phase IIB: During this second part, the Agency’s directorates, integrated intelligence centers,

and special offices will begin to execute their organization-specific return-to-work plans in support

of the Agency’s reconstitution. This phase ends when the Agency has the ability to execute all core

mission sets.

        9.      DIA’s Director has now made the decision to enter Phase IIB, due to the health

conditions within the National Capital Region, as well as within the Agency workforce, with initial

implementation of this phase planned to slowly increase the numbers of on-site officers agency-

wide.

        10.     All officers who are part of FOIA-LIT have self-identified as members of a

population at high-risk of serious complications from COVID-19. As a result, at this time it is not

guaranteed that any FOIA-LIT officers will return to regular on-site work in Phase IIB, as DIA

policy on reconstitution currently states that supervisors cannot compel any officer who self-


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identified as high risk to return to work on-site. However, two of the junior FOIA-LIT team

members have volunteered to return to the office two days per week to begin the resumption of at

least some FOIA-LIT matters, and the DIA Chief of Staff approved these junior FOIA-LIT officers

to return to on-site work two days per week. DIA carefully monitors the daily on-site population

within its buildings, and has specifically restricted supervisors from bringing back personnel

without Chief of Staff approval.

       11.     DIA FOIA will, in accordance with overall DIA phasing and Surgeon General

guidance, bring back the FOIA workforce, including its experienced officers and master-level

expert litigation team officers, to increasingly augment the on-site 2-day per week teams with 3-

days per week telework. However, high-risk personnel may be situationally delayed in returning

on-site due to ongoing exposure risks. It will most likely be several months before increased

numbers and experience levels return to implement increases in effective FOIA production and

review. Ultimately, our production and review will be limited as long as there are limits on our

team member’s ability to access classified materials and collaboration in a classified environment,

as required for FOIA case processing and review.

       12.     Accordingly, Defendant is unable to provide additional responses or information

regarding this case at this time, due to the very recent resumption of FOIA-LIT work at DIA.

Defendant anticipates that it will be able to provide Plaintiff with more specific information by the

next Joint Status Report regarding the status of Plaintiff’s FOIA request; (2) the anticipated number

of documents responsive to Plaintiff’s FOIA request; and (3) the anticipated date(s) for release of

the documents requested by Plaintiff.




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         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



September 15, 2020




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